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                     UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA               )
                                       )
v.                                     )       CASE NO. 1:22-CR-00086-BAH
                                       )       CHIEF JUDGE BERYL A. HOWELL
MICHAEL LEE ROCHE                      )

                                     NOTICE

     Comes now Michael Lee Roche, by and through counsel, Paul Bruno, and hereby

notifies the Court and the government that he does not object to the video evidence

on the government’s exhibit list being made publicly available without restriction.

                                       Respectfully submitted,



                                       s/ Paul Bruno
                                       Paul Bruno, B.P.R. #17275
                                       Attorney for Michael Lee Roche
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                          CERTIFICATE OF SERVICE

       I hereby certify that a true and exact copy of the foregoing Notice has been
electronically delivered to Christopher Amore, Assistant United States Attorney,
DOJ-USAO, District of New Jersey, 970 Broad Street, Suite 700, Newark, New Jersey
07102, on this the 6th day of March, 2023.

                                       s/ Paul Bruno
                                       Paul Bruno


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